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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

AUTUMN MONTGOMERY                                   CIVIL ACTION NO.: 2:19-CV-02208
AND NATESHUS JACKSON

VERSUS                                              JUDGE ELDON E. FALLON

WAITR HOLDINGS, INC.                      MAGISTRATE JUDGE DOUGLAS
_____________________________________________________________________________

                         MEMORANDUM IN SUPPORT OF
                MOTION FOR CONDITIONAL CLASS CERTIFICATION
                AND FOR NOTICE TO PROSPECTIVE CLASS MEMBERS

        Plaintiff AUTUMN MONTGOMERY requests that this action be provisionally certified

as a collective action pursuant to 29 USCA §216(b), that Plaintiff’s counsel be authorized by the

Court to give notice in the form attached hereto as Appendix A of the pendency of the action and

of the right to join the action to:


        FLSA W2 DRIVER CLASS

        All Delivery Drivers employed by WAITR INCORPORATED or WAITR HOLDINGS,
        INC. in any state from March 6, 2016 to the present for whom the employer reported
        wages on IRS Form W2.

BACKGROUND

        WAITR is in the business of providing restaurant meal ordering services to customers

online and by means of a mobile phone app., and restaurant food delivery service using Delivery

Drivers employed by WAITR. Plaintiff MONTGOMERY was employed by WAITR as a

Delivery Driver in the New Orleans market area from December 2017 to May 2018.

        The Fair Labor Standards Act 29 U.S.C.A. §206(a) (1) (FLSA) requires employers to pay

all employees a minimum wage of $7.25 per hour for each hour worked. During the relevant

time period WAITR paid Delivery Drivers classified as employees (“W2 Drivers”) a cash wage



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of either $5.00 or $6.00 per hour and credited tips earned by Plaintiff to satisfy the balance of

Defendant’s obligation to pay federal minimum wage ($7.25).

       WAITR required all Delivery Drivers to provide and maintain at their own expense a

licensed and insured automobile to make deliveries, and to bear all costs associated with

operating the vehicle.     After taking auto expenses into account, MONTGOMERY and all

similarly situated W2 Drivers received a net sub minimum wage each workweek. Under those

circumstances requiring Plaintiff and similarly situated Delivery Drivers to provide the tools of

WAITR’s trade is a prohibited “kickback” under 29 C.F.R. §531.35.

       WAITR owes all members of the FLSA W2 Driver Class reimbursement for all auto

expenses at the rate of $0.545 per mile, plus an equal additional amount as liquidated damages

plus Plaintiff’s reasonable attorney fees and expenses incurred to remedy the FLSA minimum

wage violations. MONTGOMERY brings this action in an individual capacity and pursuant to

29 U.S.C.A §216(b) in a representative capacity for all members of the FLSA W2 Driver Class.

The Law on Collective Action Certification

       The FLSA affords workers the right to sue collectively on behalf of themselves and

others similarly situated for violations of the Act's minimum wage provisions and overtime

protections. 29 U.S.C.A. §216(b).        Unlike class actions governed by Rule 23 of the Federal

Rules of Civil Procedure, potential class members in an FLSA collective action are required to

notify the court of their desire to opt-in to the action. Lima v. Int'l Catastrophe Sols., Inc., 493 F.

Supp. 2d 793, 797–800 (E.D. La. 2007)

       In certifying FLSA collective actions district courts commonly follow the two stage

Lusardi approach, described in Mooney v. Aramco Services, Co.1 See Lima, 493 F. Supp. 2d at


1
 Mooney v. Aramco Services, Co., 54 F.3d 1207, 1213–14 (5th Cir.1995), overruled on other grounds by
Desert Palace, Inc. v. Costa, 539 U.S. 90, 123 S. Ct. 2148, 156 L.Ed.2d 84 (2003).
                                                  2
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797-800, Hobbs v. Cable Mktg. & Installation of Louisiana, Inc., 290 F. Supp. 3d 589, 594–95

(E.D. La. 2018), Portillo v. Permanent Workers, LLC, 662 Fed. Appx. 277, 280 (5th Cir. 2016).


          At the first step the plaintiff moves for conditional certification, which requires the

district court to decide, usually based on the pleadings and affidavits of the parties, whether to

provide notice to fellow employees who may be similarly situated to the named plaintiff.

Portillo at 280–81, citing Sandoz v. Cingular Wireless LLC, 553 F.3d 913, 915 n. 2 (5th Cir.

2008). At the second step, which usually occurs after discovery, the defendant moves for

decertification and the court is required to decide whether similarly situated employees have

actually joined the lawsuit. Id.


          At the provisional or notice stage, the plaintiff bears the burden of making a preliminary

factual showing that at least a few similarly situated individuals exist. Lima, at 798.2 Because

the court has minimal evidence at the first stage, the determination is made using a fairly lenient

standard, and typically results in conditional certification. Lima, at 798, Mooney, 54 F.3d 1207,

1214, Marshall v. Louisiana 2016 WL 279003 at *8 (E.D. La 1-22-16).


          Though unsupported factual assertions will not suffice3, a plaintiff must present “nothing

more than substantial allegations that potential opt-in plaintiffs were together the victim of a

single decision, policy, or plan.”4 The plaintiff may satisfy his or her burden through submission

of evidence in the form of pleadings, affidavits and other supporting documentation. Whether



2
Cit. Badgett, 2006 WL 2934265, at *2; Lentz, 2007 WL 1628853, at *3 (citing Simmons v. T–Mobile
USA, Inc., 2007 WL 210008, at *9 (S.D. Tex. Jan.24, 2007).
3
    Lima, 493 F.Supp.2d 793, 798
4
    Mooney, 54 F.3d at 1214 n.8; Marshall v. Louisiana 2016 WL 279003 at *8


                                                   3
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employees are ‘similarly situated’ for purposes of the FLSA is determined in reference to their

job requirements and with regard to their pay provisions.5


          In Lima the Court granted provisional certification based on affidavits by the named

plaintiffs and three opt-ins who stated (1) they all worked for the defendant during the relevant

time period, (2) they were not paid proper wages due to a company-wide policy, (3) they were

subject to identical pay practices (receiving “straight time” for all hours worked including

overtime), and (4) they were not exempt from the FLSA's overtime wage provisions.

          The Court found the pleadings and affidavits warranted provisional certification of a class

that included all persons who performed manual labor for the defendants directly or through

subcontractors, and did not receive overtime pay.

          “Accordingly, given the lenient standard at the notice stage, the Court is satisfied that the
          Plaintiffs and other individuals whom they seek to include within the class, including
          those who worked for other subcontractors, are “similarly situated” with respect to the
          Defendants' pay provisions so as to justify conditional certification and notice to potential
          class members.”

          The Court rejected the argument that the affidavits were insufficient to show a “common

plan or practice” with respect to other subcontractors, because: “….a review of the Defendants'

pay records and agreements to subcontract will easily reveal whether a common plan existed to

improperly pay overtime salaries. It seems appropriate to certify the collective action at this time

and revisit the question later after some discovery.” Lima, at 799-800

          Following Lima, courts typically conclude concerns such as whether job requirements

may vary depending on the location where potential class members work should be dealt with at

the second stage of the Lusardi approach, because they often favor narrowing the scope of a

class rather than failing to certify it altogether. Marshall, at *8, citing Lima, 493 F. Supp 2d 793,


5
    Lima at 798, cit. Dybach v. Florida Dep't of Corr., 942 F.2d 1562, 1567–68 (11th Cir.1991)
                                                     4
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800, cit. Kaluom v. Stolt Offshore, Inc. 474 F. Supp. 2d 866, 875 (S.D. Tex. 2007); see also

Donahue v. Francis Services, Inc., 00 WL 1161366 (E.D. La. 2004)


The Evidence

       The declaration of Autumn Montgomery and affidavit of Opt-in Plaintiff Kirk Comeaux

are attached to this Memorandum as, respectively, Exhibit AM and Exhibit KC. Montgomery

was employed by WAITR as a Delivery Driver in the New Orleans market area from December

2017 to May 2018 at a base wage of $6.00 per hour. AM ¶ 2, 3. Comeaux was employed by

WAITR as a Delivery Driver in the Lafayette market area, from December 22, 2017 to

September 1, 2018 at a base wage of $5.00.     KC ¶ 2. WAITR credited tips received by the

employees to satisfy the employer’s obligation to pay federal minimum wage ($7.25). KC ¶ 2.

       During orientation Montgomery and Comeaux were told WAITR required all Delivery

Drivers to provide a licensed and insured automobile to make deliveries, and to bear all costs

associated with operating the vehicle. AM ¶ 4, KC ¶ 4.

       Attached to Montgomery’s affidavit are data excerpts from her Stride Tax mobile app.

that measured the number of miles and hours Montgomery drove here vehicle each day picking

up and delivering food orders for WAITR. Exhibit AM.1. Exhibit AM.2 is a summary of the

data depicted in Montgomery’s trip log.      According to this data in a typical workweek

Montgomery worked 19.05 hours and drove her automobile 236.78 miles or more delivering

food to customers for WAITR. At the 2018 IRS mileage reimbursement rate ($0.545 per mile)

during an average week Montgomery incurred out of pocket expenses of not less than $129.05,

or $6.77 per hour. Taking auto expenses into account, Montgomery received a net FLSA wage

of $0.48 per hour ($7.25 - $6.77).




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          Exhibit KC.1 is a true copy of a log created and kept by Opt in Plaintiff Kirk Comeaux

recording the hours he worked and the miles he drove his vehicle each day delivering food orders

for WAITR. KC, ¶ 7. Exhibit KC.2 is a summary of the data depicted in Comeaux’s log. KC, ¶

8. In the 34 weeks for which Comeaux recorded miles for each day worked6, he drove 10,583

miles, or an average of 311.26 miles per week delivering food orders to customers for WAITR.

KC, ¶ 9. In the 37 weeks for which he recorded work hours for each day worked, he worked a

total of 652.42 hours, or an average of 17.63 hours per week. KC, ¶ 10.

          At the IRS mileage reimbursement rate ($0.545 per mile) during an average week,

Comeaux incurred out of pocket expenses of approximately $169.63 or $9.62 per hour. KC, ¶11.

Taking auto expenses into consideration Comeaux’s average net income from WAITR was a

negative (- $2.37) per hour. KC, ¶12.

All Class Members Were Similarly Situated

          Montgomery and Comeaux verified WAITR expected all Delivery Drivers to average at

least two deliveries per hour. AM ¶ 10, KC ¶ 4.           Montgomery was told during orientation

and regularly via the GroupMe Discussion Board by her Dash Supervisor and Management that

WAITR expected all Delivery Drivers to average at least two deliveries per hour during each

three to four hours shift, and that trainer/lead drivers were expected to average 2.7 deliveries per

hour. AM, ¶ 10.

          Drivers could select an order pickup radius of 3, 5, 10 or 15 miles on the DRIVR App.

KC ¶ 5. The default setting in DRIVR was a 10 mile order pickup radius. AM ¶ 11, KC ¶ 7.

          If the number of orders on screen of the DRIVR app was low or none, Drivers were told

to set the pickup radius setting at 15 miles in order to increase the number of available orders.



6
    In averaging the data, weeks in which mileage for one or more days were missing were disregarded.
                                                     6
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AM ¶ 11, KC ¶ 7. Drivers were encouraged to keep the radius setting at 15 miles to maximize

the number of available pickup orders. KC ¶ 7. If deliveries fell below two per hour they were

told to increase the mileage radius to 15 miles. KC ¶ 7.

          Using the default radius setting (10 miles) a Delivery Driver who averaged only two

deliveries per hour could incur auto expenses of $10.90 per hour (20 X $.0545) an amount that

exceeded the wage paid by Waitr.7 Using a 15 mile radius a Driver who averaged only two

deliveries per hour could incur auto expenses of $16.35 per hour (30 miles X $0.545), or more.

          Using the minimum pickup and delivery radius (3 miles) a Driver who averaged only two

deliveries per hour could incur auto expenses of $3.27 per hour (6) ($0.054), and suffer a

minimum wage shortage of $3.98 per hour. Those who had only one pick up and delivery within

a 3 mile radius would suffer a minimum wage shortage equal to the mileage times $0.545.

Those who had no order deliveries would also earn no tips; their wage for the day would be the

$6.00 per hour base wage, i.e. below minimum wage. AM, ¶ 13.8

          The affidavits submitted in support of the Motion demonstrate that WAITR’s practice

resulted in systemic minimum wage violations for all members of the FLSA W2 Class in exactly

the same way. When expenses are taken into account, requiring W2 Delivery Drivers to bear

their auto expenses resulted in minimum wage shortages for the named Plaintiff, for Mr.

Comeaux, and for all other Delivery Drivers at the rate of $0.545 per mile. Which is to say, all

members of FLSA W2 Driver Class were together the victims of a single decision, policy, or

plan that violated FLSA. Provisional class certification is therefore appropriate.

7
    A conservative number, as delivery distances were not limited by the order pick up radius. AM ¶ 12.
8
 FLSA minimum wage compliance is determined on a workweek basis. See 20 CFR Sandoz v. Cingular
2013 WL 1290204, at *6-7 (W.D. La. 2013), 29 CFR §776(4) (a), Wage Hour Opinion Letter No. 125
(11-14-62), Op. Letter No. 63 (11-30-16), Luther v. Wilson, 528 F. Supp. 1166 (S.D. Ohio 1981). Work
hours and pay for shifts with no deliveries, at $5 or $6 per hour would only enhance the weekly minimum
wage shortage.
                                                      7
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Tolling of the Limitations Period


        The applicable statute of limitations period under the FLSA is set forth in 29 U.S.C. §

255. An action for collection must commence within two years after the cause of action accrued,

unless the violation is willful, in which case the action must be commenced within three years.

"Willful" means that the employer either knew or showed reckless disregard as to whether its

conduct was prohibited by the statute. McLaughlin v. Richland Shoe Co., 486 U.S. 128, 128, 108

S. Ct. 1677, 100 L.Ed.2d 115 (1988).

        A cause of action begins to accrue at each regular payday immediately following the

work period during which the services were rendered for which the wage or overtime

compensation is claimed. Halferty v. Pulse Drug Co., Inc., 821 F.2d 261, 272 (5th Cir.1987),

modified on other grounds, 826 F.2d 2 (5th Cir.1987); see also Hendrix v. Yazoo City, 911 F.2d

1102 (5th Cir.1990) (cause of action begins to run on date employer makes unlawful payment).


        In a collective action, the action is commenced in the case of an opt-in plaintiff on the

date a written consent is filed. 29 U.S.C. § 256(b); Atkins v. General Motors Corp., 701 F.2d

1124, 1130 n. 5 (5th Cir.1983), Quintanilla v. A & R Demolition, Inc., 2006 WL 1663739, at *1

(S.D. Tex. June 13, 2006). This limitations period is subject to tolling on equitable grounds.

Hodgson v. Humphries. Where grounds exist for provisional certification an order tolling the

statute of limitations is appropriate.9




9
 See, e.g. Exhibit 1, Middle District Limited Scheduling Order (FLSA) p. 3 ¶ 7,): In the event that no
settlement is reached pursuant to these procedures in a collective action, and this Court later grants a
motion permitting notice to be sent to similarly situated individuals advising them of their right to opt-in
to this action, the limitations period for any person receiving notice shall be tolled during the period from
the date of this Order until the parties file a Status Report thereby lifting the stay on these proceedings


                                                      8
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CONCLUSION

       At the notice stage all that is required for provisional certification is a substantial

allegation that the putative class members were together adversely affected by the same pay

policy or plan. There is no dispute about the relevant facts. The pay policy at issue applied

uniformly to all Delivery Drivers classified as W2 employees, they all had the same job

requirements and all suffered minimum wage shortages in the same way.

       WHEREFORE Plaintiff requests (1) that this action be provisionally certified as a

collective or representative action pursuant to 29 USCA §216(b) on behalf of Delivery Drivers

employed by WAITR INCORPORATED or WAITR HOLDINGS, INC. in any state from March

6, 2016 to the present for whom the employer reported wages on IRS Form W2, (2) that WAITR

be ordered to provide Plaintiff the names, addresses, telephone numbers, mobile phone numbers

and email addresses for all such persons, (3) that Plaintiff be authorized to provide the attached

Notice of the pendency of the action and of the right to join the action to all potential Class

Members, and (4) for an Order tolling the statute of limitations for claims by prospective Class

Members.



                                             RESPECTFULLY SUBMITTED,

                                             BRINEY FORET CORRY

                                             /s/Christophe L. Zaunbrecher
                                             CHRISTOPHER L. ZAUNBRECHER (09546)
                                             BRINEY FORET CORRY, LLP
                                             413 Travis Street, Suite 200
                                             Post Office Drawer 51367
                                             Lafayette, Louisiana 70505-1367
                                             Telephone: (337) 456-9835
                                             Facsimile: (337) 233-8719
                                             E-mail: zaunbrecher@brineyforet.com
                                             Counsel for PLAINTIFFS

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing has this date been presented to

defendant’s counsel via:

       ()     Hand Delivery                         ( )   Prepaid U.S. Mail
       ()     Facsimile                             ( )   Certified Mail
       (X)    E-Mail                                ( )   Federal Express

       Lafayette, Louisiana this 7th day of June, 2019.

                                             /s/Christopher. Zaunbrecher______________




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